Case 1:14-ml-02570-RLY-TAB            Document 14855         Filed 11/17/20       Page 1 of 1 PageID
                                           #: 103177

                                                                                        FILED
                              UNITED STATES JUDICIAL PANEL
                                                                                       11/17/2020
                                           on
                               MULTIDISTRICT LITIGATION                           U.S. DISTRICT COURT
                                                                               SOUTHERN DISTRICT OF INDIANA
                                                                                  Roger A.G. Sharpe, Clerk


 IN RE: COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND
 PRODUCTS LIABILITY LITIGATION
       Stephens v. Cook Medical Incorporated, et al.,                  )
              N.D. Alabama, C.A. No. 5:20-01257                        )              MDL No. 2570
                    1:20-cv-6274-RLY-TAB
          ORDER LIFTING STAY OF CONDITIONAL TRANSFER ORDER
        AND VACATING THE DECEMBER 3, 2020, HEARING SESSION ORDER


          A conditional transfer order was filed in the above-listed action (Stephens) on September 10,
 2020. Prior to expiration of that order’s 7-day stay of transmittal, defendant Huntsville Hospital
 Associated and plaintiff in Stephens filed notices of opposition to the proposed transfer. The parties
 later filed motions and briefs to vacate the conditional transfer order. The Panel has now been
 advised that defendant Huntsville Hospital Associated is no longer a party to this action and that
 plaintiff has withdrawn her opposition to transfer.

        IT IS THEREFORE ORDERED that the stay of the Panel's conditional transfer order
 designated as “CTO-102” filed on September 10, 2020, is LIFTED insofar as it relates to this action.
 The action is transferred to the Southern District of Indiana for inclusion in the coordinated or
 consolidated pretrial proceedings under 28 U.S.C. § 1407 being conducted by the Honorable Richard
 L. Young.

        IT IS FURTHER ORDERED that the Hearing Session Order and the attached Schedule filed
 on October 22, 2020, are VACATED insofar as they relate to this action.


                                                       FOR THE PANEL:



                                                       John W. Nichols
                                                       Clerk of the Panel
